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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Hearing Date: September 13, 2023 at 1:00 p.m. (ET)
                                                             Objection Deadline: September 6, 2023 at 4:00 p.m. (ET)



                                          NOTICE OF MOTION

TO:      (a) the U.S. Trustee; (b) counsel to the Committee; (c) the Securities and Exchange
         Commission; (d) the Internal Revenue Service; (e) the United States Department of
         Justice; (f) the United States Attorney for the District of Delaware; (g) counsel for the Ad
         Hoc Committee; and (h) to the extent not listed herein, those parties requesting notice
         pursuant to rule 2002 of the Federal Rules of Bankruptcy Procedure.

       On August 23, 2023, FTX Trading Ltd. and its affiliated debtors and debtors-in-
possession (the “Debtors”) filed the Motion of Debtors to Enter Into, and Perform Their
Obligations Under, the Reimbursement Agreements (the “Motion”).

       Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before September 6, 2023 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on September 6, 2023.

      A HEARING ON THE MOTION WILL BE HELD ON SEPTEMBER 13, 2023 AT
1:00 P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5th FLOOR,
COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.



1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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Dated: August 23, 2023                 LANDIS RATH & COBB LLP
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                                       -and-

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                                       Counsel for the Debtors and Debtors-in-Possession




{1368.002-W0072152.}
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